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           IN THE UNITED STATES DISTRICT COURT
          FOR THE NORTHERN DISTRICT OF GEORGIA
                     ATLANTA DIVISION

CITIZENS INSURANCE           )
COMPANY OF AMERICA, et al.,  )
                             )
     Plaintiffs,             )
                             )
and                          )        CIVIL ACTION FILE
                             )
WESTFIELD INSURANCE          )        NO. 1:19-CV-05292-MHC
COMPANY,                     )
                             )
     Plaintiff-Intervenor,   )
v.                           )
                             )
BANYAN TREE MANAGEMENT, )
LLC; ALBANY DOWNTOWN         )
HOTEL PARTNERS, LLC; and     )
JANE DOE,                    )
                             )
     Defendants.             )
                             )
BANYAN TREE                  )
MANAGEMENT, LLC and          )
ALBANY DOWNTOWN              )
HOTEL PARTNERS, LLC,         )
                             )
     Third-Party Plaintiffs, )
                             )
v.                           )
                             )
STARR INDEMNITY &            )
LIABILITY COMPANY,           )
                             )
    Third-Party Defendant.   )
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                                     )
STARR INDEMNITY &                    )
LIABILITY COMPANY,                   )
    Third Party Counterclaim         )
    and Crossclaim Plaintiff,        )
                                     )
v.                                   )
                                     )
BANYAN TREE MANAGEMENT               )
LLC and ALBANY DOWNTOWN              )
HOTEL PARTNERS, LLC,                 )
                                     )
       Third-Party Counterclaim      )
       Defendants,                   )
                                     )
     and                             )
                                     )
JANE DOE; CITIZENS                   )
INSURANCE COMPANY OF                 )
AMERICA; and                         )
MASSACHUSETTS BAY                    )
INSURANCE COMPANY,                   )
                                     )
       Crossclaim Defendants.        )
                                     )

 DEFENDANTS BANYAN TREE MANAGEMENT, LLC AND ALBANY
  DOWNTOWN HOTEL PARTNERS, LLC’S BRIEF IN SUPPORT OF
       MOTION FOR PARTIAL SUMMARY JUDGMENT
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                               INTRODUCTION

      Defendants Banyan Tree Management, LLC (“Banyan”) and Albany

Downtown Hotel Partners, LLC (“Albany”) file this brief in support of their Motion

for Partial Summary Judgment. This is an insurance coverage action involving three

different insurers that issued commercial general liability insurance policies to

Albany and Banyan. The claim at issue arises from a suit filed by Jane Doe in

Gwinnet County, Georgia. Ms. Doe alleges she was secretly filmed fully nude while

staying at the Hampton Inn owned by Albany and operated by Banyan. She further

alleges that an unknown perpetrator named as John Doe in the underlying action

posted the video to numerous pornographic websites. Upon learning of such

publication, Jane Doe claims to have suffered serious mental anguish and physical

injuries, for which she seeks to recover from Albany and Banyan.1

      In this summary judgment motion, Albany and Banyan request a ruling that

the three insurers owe Albany and Banyan a duty to defend in the underlying action.

Each policy provides insurance coverage to Albany and Banyan for Ms. Doe’s

lawsuit, either through Coverage A – Bodily Injury and Property Damage, or

Coverage B – Personal and Advertising Injury.


1
 Albany and Banyan have denied liability in the underlying action, which remains
ongoing. At present, Ms. Doe’s case in Gwinnett County is still in discovery.

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                           FACTUAL BACKGROUND
I.    Jane Doe’s Complaint

      In 2019, Jane Doe filed a complaint in Gwinnett County State Court (the “Doe

Complaint” Civil Action No. 19-C-04673-S3) against Albany, Banyan, and John

Doe. (See generally Doe Compl., Doc. 1-1). Jane Doe alleges that in 2015 she was

staying at the Hampton Inn-Albany owned by Albany and managed by Banyan. (Id.

¶¶ 9, 34–35). During that stay, Ms. Doe claims she was recorded fully nude without

her consent by a hidden camera located in the shower. (Id. ¶ 10). The Doe Complaint

alleges that Ms. Doe became aware of such recording on September 30, 2018, when

she received an email with a link to the pornographic website smutr.com. (Id. ¶ 11).

That link contained a publicly available version of the video containing Ms. Doe’s

fully nude image under the title “[Jane Doe] Bathroom Voyeur Cam – 2.” (Id.). The

Doe Complaint does not allege when the video was first posted to the internet. (Id.)

      Over the next few weeks, Ms. Doe received a series of emails from the same

sender requesting additional videos to prevent further posting of the video. (See Id.

¶¶ 14–20). On October 11, 2018, the video was posted to four more pornographic

websites. (Id. ¶ 21). All told, Ms. Doe further alleges that the video was posted to at

least thirteen different pornographic websites. (Id. ¶ 29). Ms. Doe did not respond to

the sender of these emails and attempted to get the videos removed from the internet.



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(Id. ¶ 22). Finally, the Doe Complaint alleges the same perpetrator sent a link to the

video on vimeo.com to Ms. Doe’s family and friends under the guise of an “Art

Project” using a fake email address set up in her name. (Id. ¶ 25).

      The Doe Complaint alleges John Doe was an employee of Albany and/or

Banyan and at “all material times referred to in this Complaint, John Doe was

conducting himself in the normal course of business acting within the scope of his

employment.” (Doe Compl. ¶¶ 8, 45). The Doe Complaint states that John Doe knew

Plaintiff’s room number, full name, email address based on the information she

provided at check-in. (Id. ¶ 41). It further speculates that “[t]o have access to

personal information (full name, email address, etc.) the individual performing the

unauthorized recording would have to be an employee of the hotel or someone with

direct access to the rooms.” (Id. ¶ 43).

      Based on these factual allegations, the Doe Complaint asserts claims of

negligence, premises liability, and vicarious liability against Albany and Banyan.

(Doe Compl. ¶¶ 47–67).2 The Doe Complaint makes numerous allegations of

ordinary negligence directly against Albany and Banyan, including failing to provide

a safe premises, failing to perform adequate inspections, failing to identify a


2
 The Doe Complaint also asserts negligence claims against John Doe. (Id. ¶¶ 68-
73).


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hazardous situation in the hotel bathroom, and failing to protect its customers’

personal information and enforce privacy policies. (Id. ¶¶ 53, 58). The Doe

Complaint also asserts classic premises liability claims against Banyan and against

Albany pursuant to O.C.G.A. § 51-3-1. (Id. ¶¶ 61–67). Banyan and Albany are

alleged to have actual or constructive knowledge that a defect existed on their

property in the form of a camera in Ms. Doe’s hotel bathroom. (Id.)

        Each of these claims is alleged to be the proximate cause of Ms. Doe’s

damages. (Id. ¶¶ 55, 60, 67). Ms. Doe alleges she sustained “physical injury,” such

as “significant gastrointestinal issues” and over thirty pounds of weight loss. (Id. ¶¶

46, 55, 60, 67). During her deposition, Ms. Doe expanded on the physical injuries

she has suffered, which also include “severe skin issues,” excessive grinding and

shattering of her teeth leading to a “permanent recurrent TM[J] issue”, and the fact

that “pretty much my entire body started to fall apart and collapse.” (Doe Dep. at 43,

48, excerpt attached as Exhibit A; see also Doe Resp. to Starr’s RFAs at 21–22,

attached as Exhibit B). She seeks to recover damages from Banyan and Albany for

“past and future physical pain and suffering; past and future mental anguish; past

and future medical expenses;” and other types of damages available under the law.

(Doe Compl. ¶ 80).3


3
    Albany and Banyan deny liability for the injuries alleged in the Doe Complaint.

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II.    Insurance Policies Providing Coverage to Albany and Banyan.

       This declaratory judgment action gathers three different insurers in a

procedural posture rivaling a civil procedure final exam question. The policies at

issue are all commercial general liability policies (“CGL”) that generally follow the

standard CGL form, with a few material deviations noted below.

       Plaintiffs Citizens Insurance Company and Massachusetts Bay Insurance

Company (collectively “Hanover”) provided successive commercial general liability

insurance policies (the “Hanover Policies”) to Albany in which Banyan is an

additional insured. (Hanover Am. Compl. ¶¶ 14, 17, Doc. 50). The policy periods

for the Hanover Policies ran from April 21, 2015, to April 21, 2017. (Id. ¶¶ 14, 15;

Hanover Policies, attached as Exhibit C, at 786). Plaintiff-Intervenor Westfield

Insurance Company (“Westfield”) issued successive CGL policies to Banyan (the

“Westfield Policies”). (Westfield Compl. ¶ 22, Doc. 25). The policy periods ran from

August 30, 2014, to August 30, 2016, when the Westfield Policy was cancelled. (Id.)

Finally, Third-Party Defendant Starr Indemnity & Liability Company (“Starr”)

issued a CGL policy to Banyan for the period July 31, 2018, to July 31, 2019, in

which Albany is an additional insured. (Starr Countercl. ¶¶ 26–28, Doc. 67).

       Currently, Starr and Hanover are providing a defense to Albany and Banyan

subject to a reservation of rights. (Id. ¶ 46; Hanover Am. Compl. ¶ 3). Westfield has


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tendered the defense of Banyan to Hanover because Banyan is an additional insured

on the Hanover Policies but has agreed to participate in Banyan’s defense subject to

a reservation of rights. (Westfield Compl. ¶ 4).

               ARGUMENT AND CITATION OF AUTHORITY

      Albany and Banyan seek summary judgment on Hanover, Westfield, and

Starr’s duty to defend in the Georgia Action.4 Albany and Banyan do not seek a

ruling on the insurers’ duty to indemnify as that issue is not ripe until the insured’s

liability has been established in the underlying case. Nationwide Mut. Fire Ins. Co.

v. Dillard House, Inc., 651 F. Supp. 2d 1367, 1372 (N.D. Ga. 2009).

I.    The Insurers’ Duty to Defend Under Georgia Law.

      It is well settled law in Georgia that an insurer’s duty to defend is a separate

and independent obligation that is broader than the duty to indemnify. See Shafe v.

Am. States Ins. Co., 288 Ga. App. 315, 317 (2007). The duty to defend is determined

by comparing the language of the policy to the allegations of the complaint. Hoover

v. Maxum Indem. Co., 291 Ga. 402, 407–08 (2012); see also Continental Cas. Co.

v. Synalloy Corp., 667 F. Supp. 1523, 1541 (S.D. Ga. 1983) (insurer must provide a



4
 The declaratory judgment claims at issue in this Motion include Counts 4, 5, and 6
of Hanover’s Amended Complaint (Doc. 50 ¶¶ 50–66); Count 3 of the Westfield
Complaint (Doc. 25); Count 4 of Albany and Banyan’s Third-Party Complaint
against Starr (Doc. 54); and Counts 1, 2, 3, and 4 of Starr’s Counterclaim (Doc. 67).

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defense “as long as there is a possibility of coverage, liberally construing the

allegations” of the complaint (emphasis added)). “If the facts as alleged in the

complaint even arguably bring the occurrence within the policy’s coverage, the

insurer has a duty to defend the action.” Hoover, 291 Ga. at 408 (citation omitted).

“Thus, an insurer is obligated to defend even where the allegations of the complaint

against the insured are ambiguous or incomplete with respect to the issue of

insurance coverage.” Fireman’s Fund Ins. Co. v. University of Ga. Athletic Ass’n,

288 Ga. App. 355, 356 (2007) (citing Penn-Am. Ins. Co. v. Disabled Am. Veterans,

Inc., 268 Ga. 564, 565 (1997)). Even where the complaint’s allegations are

“groundless, false or fraudulent” an insurer will still have a duty to defend the entire

suit if the complaint alleges liability covered by the policy. Id. at 359.

      Similarly, the insurer may have an obligation to defend even when the

complaint against the insured falsely indicated non-coverage. Loftin v. U.S. Fire Ins.

Co., 106 Ga. App. 287, 294 (1962). This raises an exception to the general rule that

the duty to defend is based on the policy and the allegations in the complaint. In

cases where the underlying lawsuit falsely shows noncoverage, a court may consider

extrinsic evidence of the “true facts” of the claim when advanced by the policyholder

to establish the duty to defend. Id. However, extrinsic evidence of true facts cannot

be used by the insurer to restrict its duty to defend. Penn-Am. Ins. Co. v. Disabled


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Am. Veterans, Inc., 224 Ga. App. 557, 563 (1997), aff’d, 268 Ga. 564 (1997). “Thus,

it is only where the complaint sets forth true factual allegations showing no coverage

that the suit is one for which liability insurance coverage is not afforded and for

which the insurer need not provide a defense.” Penn-Am,. 268 Ga. at 565.

       Finally, where the claim asserted is one that could potentially be covered

under the policy, “doubt as to liability and insurer’s duty to defend should be

resolved in favor of the insured.” Id. (citation omitted).

II.    Interpretation of Insurance Contracts Under Georgia Law.

       In Georgia, insurance contracts are interpreted in favor of coverage for the

policyholder to effectuate the primary purpose of an insurance contract: providing

coverage for a claim. Georgia’s rules of interpretation begin with the “cardinal

principle” that “a policy or contract of insurance is to be construed liberally in favor

of the insured and strictly as against the insurer.” Clark v. United Ins. Co. of Am.,

199 Ga. App. 1, 5 (1991) (citations omitted). Any ambiguity in an insurance policy

“must be construed most strongly against the insurer and in favor of the

policyholder.” Id. As the Eleventh Circuit has explained, “[t]here is a low threshold

for establishing ambiguity in an insurance policy.” St. Paul Mercury Ins. Co. v.

FDIC, 774 F.3d 702, 709 (11th Cir. 2014). Ambiguity includes any uncertainty of




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meaning which may cause language to be fairly construed in multiple ways. Ga.

Farm Bureau Mut. Ins. Co. v. Meyers, 249 Ga. App. 322, 324 (2001).

        The rules of construction are particularly strict when considering a policy’s

exclusions. Because the central purpose of insurance is to provide coverage, any

language which seeks to undercut that purpose must be read narrowly. Meyers, 249

Ga. App. at 324 (“Exceptions and exclusions to coverage must be narrowly and

strictly construed against the insurer and liberally construed in favor of the insured

to afford coverage.”); Kerr-McGee Corporation v. Georgia Casualty & Surety Co.,

256 Ga. App. 458, 460 (2002) (exclusions must be clear and explicit).

III.    Starr has a Duty to Defend Albany and Banyan in the Georgia Action.

        The Starr Policy provides coverage to Albany and Banyan under Coverage A

– Bodily Injury and Property Damage as well as under Coverage B – Personal and

Advertising Injury,5 either of which are alone sufficient to trigger Starr’s duty to

defend. The Doe Complaint’s allegations raise claims covered under both types of

coverage in the Starr Policy.




5
  Coverage A contains an exclusion for bodily injury arising out of personal and
advertising injury. (Starr Countercl. ¶ 32, Starr Policy, Doc. 67-3, at 22). However,
if the court determines Jane Doe’s bodily injury arises from personal and advertising
injury, Starr would still have a duty to defend under Coverage B, including for
“consequential ‘bodily injury.’” (Starr Policy at 30).

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      A.     The Doe Complaint Alleges Claims for Personal and Advertising
             Injury Covered by the Starr Policy.

      Albany and Banyan can show that Coverage B applies solely based on the

video’s publication during the policy period. The Starr Policy applies to “‘personal

and advertising injury’ caused by an offense arising out of your business but only if

the offense was committed in the ‘coverage territory’ during the policy period.”

(Starr Countercl. ¶ 33, Starr Policy, Doc. 67-3, at 22). The Starr Policy also provides:

      “Personal and advertising injury” means injury, including
      consequential “bodily injury”, arising out of one or more of the
      following offenses:
       ...
      d. Oral or written publication, in any manner, of material that slanders
      or libels a person or organization or disparages a person’s or
      organization’s goods, products or services;

      e. Oral or written publication, in any manner, of material that violates a
      person’s right to privacy.

(Starr Countercl. ¶ 37, Starr Policy at 30).

      The Doe Complaint alleges that on September 30, 2018, Ms. Doe received an

email that included a link to a video with Ms. Doe’s nude image posted on a

pornographic website, but does not allege when the video was first posted on the

website. (Doe Compl. ¶ 11). Eleven days later, the video was posted to a host of

additional pornographic websites. (Id. ¶ 21). Any one of these publications satisfies

the Starr Policy’s definition of “personal and advertising injury” because posting the


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video of Ms. Doe without her consent on a website is “publication, in any manner,

of material that violates a person’s right to privacy.” (Starr Policy at 30). Each

occurred during the Starr policy period.

      Starr has argued that there is no allegation that the publication of the video

was done “as part of [Albany and Banyan’s] business,” as required by the personal

and advertising injury insuring agreement. (Starr Countercl. ¶ 101). Yet, Starr’s

reading of the policy is overly narrow. The Starr Policy does not require the

publication be made “as part of” their business, but rather uses much more expansive

language that the publication “aris[e] out of” Albany and Banyan’s business. (Starr

Policy at 22).

      Starr’s interpretation of the Policy is also inconsistent with Georgia law. See

Clark, 199 Ga. App. at 5 (“[C]ontract of insurance is to be construed liberally in

favor of the insured and strictly as against the insurer.”). Here, arising out of should

be given a broad construction to effectuate the Starr Policy’s primary purpose of

providing coverage. Indeed, “arising out of” generally means “had its origins in,

grew out of, or flowed from.” JNJ Foundation Specialists, Inc. v. D.R. Horton, Inc.,

311 Ga. App. 269, 270 (2011) (citation and punctuation omitted). Further, “‘arising

out of’ does not mean proximate cause in the strict legal sense, nor [does it] require




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a finding that the injury was directly and proximately caused by the insured’s

actions.” Id. Rather, “[a]lmost any causal connection or relationship will do.” Id.

      The personal and advertising injury of publication arises out of Albany and

Banyan’s business because, as the Doe Complaint alleges, the recording was made

at the Hampton Inn-Albany. (Doe Compl. ¶¶ 10–11, 68–72). The Doe Complaint

further alleges that John Doe’s employment with Albany or Banyan gave him access

to information, such as Ms. Doe’s name and email, that was necessary to attempt to

contact Ms. Doe via email in 2018. (Id. ¶ 43). In other words, but for Ms. Doe’s stay

at the Hampton Inn-Albany and the alleged actions of a hotel employee, she would

not have sustained the damages alleged. Again, to the extent any ambiguities exist

in the Starr Policy’s language, such ambiguity must be construed in favor of

coverage, requiring the conclusion that publication of the video during the Starr

Policy triggers Starr’s duty to defend.

      B.     The Personal and Advertising Injury Coverage Exclusions Do Not
             Apply.

      To begin, Georgia law requires exclusions to be narrowly and strictly

construed against the insurer and liberally construed in favor of the insured to

effectuate the insurance contract’s central purpose of providing coverage. Meyers,

249 Ga. App. at 324. Starr has cited a handful of exclusions, including Knowing



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Violations of Rights of Another; Criminal Acts; Material Published During Policy

Period; Access and Disclosure; and Violation of Statutes.

      The Knowing Violation of Rights of Another and Criminal Acts exclusion

both require the personal and advertising injury to be caused by an act “committed

by or at the direction of the insured.” (Starr Countercl. ¶ 34, Starr Policy at 23). The

Doe Complaint does not allege that the publication of the video showing Ms. Doe’s

nude image was committed by Albany or Banyan or at their direction. Rather, the

publication was made by John Doe. Although John Doe is alleged to have been an

employee, there is no allegation that Albany or Banyan instructed, implicitly or

explicitly, John Doe to publish the video.6

      Next, Starr relies on the Material Published During Policy Period exclusion

which excludes coverage for a publication that took place before the beginning of

the policy period. (Starr Countercl. ¶¶ 34, Starr Policy at 23). The Doe Complaint is

ambiguous as to when the video was first published and only alleges that Ms. Doe



6
   The Starr Policy contains a Separation of Insureds provision that requires the
insurance coverage to apply “[s]eparately to each insured against whom claim is
made or ‘suit’ is brought.” (Starr Policy at 28). This provision precludes Starr from
using the alleged intentional acts of John Doe to prevent coverage as to Albany and
Banyan. See Patrick Eng’r, Inc. v. Old Republic Gen. Ins. Co., 973 N.E.2d 1036,
1043 (Ill. App. 2012) (analyzing application of separation of insureds provision to
policy exclusion).


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became aware of the publication on September 30, 2018. (Doe. Compl. ¶ 11). While

the video had already been published by that time, there is no allegation as to when

the publication first occurred. Because the allegations of the Doe Complaint leave

open the possibility that the video was first published during the Starr policy period,

Starr cannot rely on this exclusion to avoid its duty to defend.

      Starr also cites the Coverage B’s Access and Disclosure exclusion, which

excludes “‘Personal and advertising injury’ arising out of any access to or disclosure

of any person’s or organization’s confidential or personal information, including

patents, trade secrets, processing methods, customer lists, financial information,

credit card information, health information or any other type of nonpublic

information.” (Starr Countercl. ¶ 35, Starr Policy at 60). Starr relies on the final

catch-all category to contend that coverage should be excluded because Ms. Doe’s

nude image linked with her name is “nonpublic information.” (Starr Countercl. ¶

79). However, it is apparent from the exclusion’s list of confidential or personal

information that Ms. Doe’s name and nude image are not the type of information

covered by this exclusion.7 The exclusion speaks of trade secrets, financial



7
 This conclusion is further confirmed by the exclusion’s reference to specific types
of damages arising from disclosure of confidential information such as “notification
costs, credit monitoring expenses, forensic expenses, [and] public relations
expenses,” none of which are sought by Ms. Doe. (Starr Policy at 60).

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information, customer lists, and patents, which are all distinguishable from the

confidential or personal information at issue in this case.

      Finally, Starr raises the Violation of Statutes in Connection with Sending,

Transmitting or Communicating any Material or Information exclusion.8 This

exclusion is inapplicable to the claims asserted in the Doe Complaint, which do not

allege any statutory violations. Ms. Doe was not aware of any statutory violations

committed by John Doe. (Doe Dep. at 52). Rather, the claims asserted arise from

the negligence allegations. Under Starr’s overly broad interpretation, an insurer

could identify any statute, ordinance, or regulation from any jurisdiction relating to

sending material to deny coverage, regardless of whether the complaint even alleges

a violation. This is inconsistent with Georgia law requiring the duty to defend to be

determined by the complaint and the rule that exclusions be interpreted narrowly and

strictly construed against the insurer. Meyers, 249 Ga. App. at 324. Overall, none of

Starr’s exclusions destroy its duty to defend Albany and Banyan.


8
  The exclusion applies to “‘Personal and advertising injury’ arising directly or
indirectly out of any action or omission that violates or is alleged to violate any
statute, ordinance, or regulation of any federal, state or local government, including
any amendment of or addition to such laws, that addresses or applies to the sending,
transmitting or communicating of any material or information, by any means
whatsoever.” (Starr Countercl. ¶ 36; Starr Policy at 85). Starr cites an identical
exclusion under Coverage A, which are similar to the Recording or Distribution of
Material or Information in Violation of Law exclusion discussed below. Because no
statutory violations are alleged, these exclusions do not apply here.

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      C.     The Doe Complaint Alleges Claims for Bodily Injury Covered by the
             Starr Policy.

      Under Coverage A, Starr has a duty to defend any suit against the insured

seeking damages for bodily injury. (Starr Countercl. ¶ 31, Starr Policy at 18). Bodily

injury is defined in the Starr Policy to mean “physical injury, sickness or disease,

including death resulting from any of these; or the following when accompanied by

physical injury, sickness or disease: mental anguish; shock; or emotional distress.”

(Starr Countercl. ¶ 37, Starr Policy at 84).

      The definition of “bodily injury” in the Starr Policy is unique as it is modified

by a “Bodily Injury Definition Extension Endorsement” that both broadens and

extends the standard definition used in most CGL policies. The plain language of the

definition states that mental anguish or emotional distress qualify as bodily injury

when they are “accompanied by” physical injury. The Doe Complaint alleges Ms.

Doe suffered damages that are explicitly considered “bodily injury” under the Starr

Policy, such as “mental anguish.” (Doe Compl. ¶ 80.c). Ms. Doe further alleges she

“has been physically harmed as well. Since the incident she has sustained significant

gastrointestinal issues and has lost over 30 pounds to date.” (Id. ¶ 46; see also ¶¶ 55,

60, 67, 73). During her deposition, Ms. Doe expanded on her physical injuries, which

also include skin issues, insomnia, excessive teeth grinding and shattering, and TMJ.

(Doe Dep. at 43, 48). Ms. Doe further clarified that at least some of her physical

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injuries occurred simultaneous with her mental anguish and emotional harm, both of

which manifested immediately upon viewing the video on October 1, 2018. (Id. at

49). Based on these allegations and testimony, Ms. Doe’s injuries include “mental

anguish” and “emotional distress” that were “accompanied by physical injury” and,

therefore, satisfy the Starr Policy’s definition of “bodily injury.”

      Starr has previously relied on Georgia cases holding that “bodily injury”

requires more than just emotional or mental harm. See, e.g., Nationwide Mut. Fire

Ins. Co. v. Somers, 264 Ga. App. 421 (2003); Anderson v. S. Guar. Ins. Co. of Ga.,

235 Ga. App. 306 (1999); Presidential Hotel v. Canal Ins. Co., 188 Ga. App. 609

(1988). However, Ms. Doe has alleged that she suffered more than just emotional or

mental harm, but also “physical injury” in the form of gastrointestinal issues and

weight loss, all of which was proximately caused by Albany and Banyan’s ordinary

negligence. (Doe Compl. ¶¶ 55, 60). Moreover, these cases cited by Starr involved

policies with a materially different definition of “bodily injury” that did not include

“mental anguish” or “emotional harm” as in the Starr Policy’s definition.

      Starr has similarly contended that “bodily injury” requires unwanted physical

contact against the injured person. This position is unsupported by the plain language

of the Starr Policy’s definition for “bodily injury,” which makes no reference to

unwanted physical contact. Rather, under the Starr Policy, “bodily injury” simply


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requires “physical injury” without reference to the manner in which such injury

arises. Importantly, the plain language does not require the mental anguish or

emotional distress to be caused by the physical injury, as Georgia courts have found

other “bodily injury” definitions to require. See, e.g., O’Dell v. St. Paul Fire &

Marine Ins. Co., 223 Ga. App. 578, 579–80 (1996). The Starr Policy requires only

that the bodily injury “be caused by an ‘occurrence,’” as discussed below. (Starr

Policy at 18). At bottom, the Doe Complaint alleges bodily injury covered by the

Starr Policy. Even if the Doe Complaint did not sufficiently allege bodily injury, the

Court can turn to the true facts of Ms. Doe’s physical injuries described in her

deposition to find Starr’s duty to defend. See Loftin, 106 Ga. App. at 294.

      D.     The Doe Complaint Alleges an “Occurrence” Under the Starr Policy.

      Coverage A requires the alleged bodily injury to be caused by an

“occurrence,” defined as “an accident, including continuous or repeated exposure to

substantially the same general harmful conditions.” (Starr Countercl. ¶ 37; Starr

Policy at 30). In Georgia, “an accident is defined as an event which takes place

without one’s foresight or expectation or design.” Somers, 264 Ga. App. at 425–26.

      Starr has maintained the alleged bodily injury does not arise from an

“occurrence,” which, it argues, does not include non-accidental intentional wrongful

acts of an employee or negligent hiring. (See Starr Countercl. ¶ 68). Yet, the Doe


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Complaint makes specific allegations of ordinary negligence against Albany and

Banyan seeking to establish liability for their own accidental conduct. The Doe

Complaint alleges Albany and Banyan failed to exercise care to keep the premises

safe, failed to properly inspect the rooms for hidden cameras, and failed to protect

Plaintiff’s personal information she used to check into the hotel. (Doe Compl. ¶¶

48, 53, 58). None of these alleged actions are intentional. Because of the alleged

negligence, Ms. Doe claims John Doe was able to record her nude in the shower and

then later publish that video on the internet. The Doe Complaint further asserts

premises liability claims against Albany and Banyan pursuant to O.C.G.A. § 51-3-

1. (Id. ¶¶ 61–67). In other words, Albany and Banyan can be held liable for their

accidental conduct separate and apart from John Doe’s actions or negligence, and,

therefore, the Doe Complaint asserts claims arising from an “occurrence.”

      E.     The Exclusions to Bodily Injury Coverage Do Not Apply.

      Starr relies on the Expected or Intended Injury exclusion, which excludes

coverage for bodily injury “expected or intended from the standpoint of the insured.”

(Starr Countercl. ¶ 32; Starr Policy at 87 (emphasis added)). The Doe Complaint

makes no allegations that either Albany or Banyan engaged in any intentional

conduct or expected for Ms. Doe to suffer bodily harm. The only allegations that




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could qualify as intended injury all relate to John Doe.9 Accordingly, pursuant to the

Separation of Insured provision, this exclusion does not limit Starr’s duty to defend.

       Starr also cites Coverage A’s Access and Disclosure exclusion, which is

largely identical to Coverage B’s Access and Disclosure exclusion discussed above,

except it is limited to “[d]amages arising out of.” (Starr Policy at 60). The limitation

demonstrates that Coverage A’s Access and Disclosure exclusion does not apply to

Starr’s duty to defend, only its duty to indemnity, which is not ripe for this summary

judgment motion. In sum, there is no exclusion that applies to Starr’s duty to defend

Albany and Banyan on the Doe Complaint.

IV.    Hanover Has a Duty to Defend Albany and Banyan in the Georgia Action.

       Coverage B for personal and advertising injury in the Hanover Policies

contains an identical insuring agreement to the Starr Policy. Based on the policy

period of the Hanover Policies, there are two personal and advertising offenses that

apply to the Doe Complaint:

       c. The wrongful eviction from, wrongful entry into, or invasion of the
       right of private occupancy by or on behalf of its owner, landlord, or
       lessor.
       ...
       e. Oral or written publication in any manner, of material, that violates a
       person’s right of privacy.

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  However, the claims asserted against John Doe are based on negligence, further
diminishing the applicability of intentional harm or intentional act exclusions.

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(Hanover Policies at 180).

      First, the Doe Complaint states: “John Doe either directly recorded or

facilitated the recording of Plaintiff and numerous others at the Hampton Inn-Albany

while in the course and scope of his employment for one or more of the Defendants.”

(Doe Compl. ¶¶ 71, 72). These allegations qualify as “a wrongful entry into” and

“invasion of the right of private occupancy” in Ms. Doe’s hotel bathroom. Hanover

argues that John Doe’s wrongful entry or invasion of right of private occupancy into

the hotel room and bathroom was not done “by or on behalf of the owner, landlord,

or lessor.” Yet, the Doe Complaint alleges that Albany is the owner of the Hampton

Inn-Albany and that Albany hired Banyan to manage and operate the property. (Id.

¶¶ 34–37). Further, John Doe is alleged to be an employee of “one or more of the

Defendants” at the time of the recording. (Id. ¶ 45). Based on these allegations alone,

the alleged wrongful entry and invasion of the right of private occupancy was done

by or on behalf of the owner, landlord, or lessor.

      At least two courts have specifically addressed the issue of whether claims

arising from an employee’s wrongful placement of a camera inside the bathroom of

his employer qualifies as a personal and advertising injury. Harleysville Preferred

Ins. Co. v. Rams Head Savage Mill, LLC, 237 Md. App. 705 (Md. App. 2018); Am.

Guar. & Liab. Ins. Co. v. 1906 Co., 273 F.3d 605 (5th Cir. 2001). Both the Maryland

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Court of Appeals and the Fifth Circuit concluded that an employee’s placement of a

camera inside the women’s restroom of his employer was an invasion of the right of

private occupancy by or on behalf of the owner, landlord, or lessor. Harleysville,

237 Md. App. at 725–26; Am. Guar., 273 F.3d at 619–21.

      Hanover also claims that any personal and advertising offense alleged does

not arise out of Albany and Banyan’s business. (Hanover Compl. ¶ 53). As discussed

above, that conclusion stems from an overly narrow reading of the policy, which is

not supported by Georgia law. JNJ Foundation Specialists, 311 Ga. App. at 270

(“‘[A]rising out of’ does not mean proximate cause in the strict legal sense . . .

[a]lmost any causal connection or relationship will do.”).10

      Separately, Hanover’s duty to defend under Coverage B is triggered by

publication of the video violating Ms. Doe’s right of privacy. The Doe Complaint is

ambiguous as to when the video was first published on the internet and simply

alleges that Ms. Doe became aware of the publication on September 30, 2018. (Doe



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   In fact, Hanover’s position that the wrongful entry and invasion of the right of
private occupancy do not arise out of Albany and Banyan’s business is even more
tenuous than Starr’s argument that relies more on the publication of the video not
arising from Albany and Banyan’s business. For the Hanover Policies, the wrongful
entry and invasion of the right of private occupancy have an even closer causal
connection to Albany and Banyan’s business because the Doe Complaint
specifically alleges the video was recorded at the Hampton Inn-Albany by an alleged
employee while in the course and scope of his employment.

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Compl. ¶ 11). Because the complaint is ambiguous, and, to date, the true facts have

not revealed when the publication first occurred, it is possible the publication was

first made during the Hanover policy period, thereby triggering its duty to defend.

See Penn-Am,. 268 Ga. at 565. In sum, whether based on the wrongful entry into Ms.

Doe’s hotel room in 2015 or the publication of the video, Hanover has a duty to

defend Albany and Banyan.

      A.     The Hanover Policies’ Exclusions Do Not Apply.

      Hanover relies on three exclusions to Personal and Advertising Injury

Coverage, including Knowing Violation of Rights of Another, Criminal Acts, and

Recording or Distribution of Material or Information in Violation of Law. (Hanover

Am. Compl. ¶ 58). The Knowing Violation of Rights of Another and Criminal Acts

exclusions are identical to the Starr Policy and do not apply for the same reasons.

      The Recording or Distribution exclusion provides:

      This insurance does not apply to . . . “Personal and advertising injury”
      arising directly or indirectly out of any action or omission that violates
      or is alleged to violate:
             (1) The Telephone Consumer Protection Act (TCPA),
      including any amendment of or addition to such law;
             (2) The CAN-SPAM Act of 2003, including any amendment
      of or addition to such law;
             (3) The Fair Credit Reporting Act (FCRA), and any
      amendment of or addition to such law, including the Fair and Accurate
      Credit Transactions Act (FACTA); or



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             (4) Any federal, state or local statute, ordinance or regulation,
      other than the TCPA, CAN-SPAM Act of 2003 or FCRA and their
      amendments and additions, that addresses, prohibits, or limits the
      printing, dissemination, disposal, collecting, recording, sending,
      transmitting, communicating or distribution of material or information.

(Hanover Am. Compl. ¶ 58, Hanover Policies at 181–82). This exclusion addressing

statutes such as the TCPA, CAN-SPAM Act, and FCRA, should not apply to the

allegations of the Doe Complaint, none of which relate in any logical way to claims

for unwanted solicitation or improper collection of financial information under these

statutory schemes. As other courts have held, this exclusion does not apply to

personal and advertising injury arising from an employee’s wrongful placement of

a hidden recording device in their employer’s bathroom. Harleysville, 237 Md. App.

705, 735 (rejecting application of same exclusion to same facts based on the

principle of ejusdem generis). The Harleysville Court held: “[I]t is apparent that the

additional terms, including ‘recording,’ were intended to bring within the scope of

the exclusion claims alleging the violation of laws similar to the FCRA. We discern

no basis for reading such a provision so broadly as to encompass the type of

‘recording’ at issue here.” Id. The Court should adopt the same reasoning as this

persuasive authority.




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V.    Westfield Has a Duty to Defend Banyan for the Same Reasons as
      Hanover.

      The Westfield Policies are identical to the Hanover Policies in all relevant

aspects. Like the Hanover Policies, the Westfield Policies were in effect in 2015 at

the time of the alleged wrongful entry into and invasion of the right of private

occupancy. Accordingly, Westfield’s duty to defend Banyan is triggered under

Coverage B in the Westfield Policies.11

      Rather, Westfield relies on exclusions to obviate its duty to defend and cites

to the same Coverage B exclusions as Hanover: Knowing Violation of Rights of

Another, Criminal Acts, and Recording or Distribution of Material in Violation of

Law, all of which are identical to the Hanover Policies. (Westfield Compl. ¶¶ 49–

55). Accordingly, all the arguments demonstrating Hanover’s exclusions do not

prevent coverage apply with equal force to exclusions cited by Westfield.

                                 CONCLUSION

      Based on the foregoing, Albany and Banyan respectfully request this Court

enter summary judgment in their favor and declare that Starr, Hanover, and

Westfield each owe a duty to defend the underlying lawsuit filed by Jane Doe.


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  Westfield makes no serious attempt to dispute that the “alleged improper entry in
2015 triggered coverage under the Westfield Part B coverage.” (See Westfield
Compl. ¶ 48).


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 Respectfully submitted this 23rd day of September, 2021.

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                     TYPE AND FONT CERTIFICATION

      The undersigned certifies, pursuant to Local Rule 7.1(D), that the foregoing

was prepared in Times New Roman, 14 point font, which complies with Local Rule

5.1 regarding typefaces and fonts.

                                            /s/Derek Schwahn ______
                                            Derek Schwahn




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                         CERTIFICATE OF SERVICE

      I hereby certify that I have electronically filed the foregoing with the Clerk of

the Court using the CM/ECF system and service will be perfected upon the following

this 23rd day of September, 2021:

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